Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.19 Page 1 of 46

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STATE OF CALIFORNIA eee Sree $$$ DEPARTMENT OF CORRECTIONS AND REHABILITATION
HEALTH CARE GRIEVANCE Page 1 of 2
CDCR 602 HC (Rev. 10/18) eA \
STAFF USE ONLY 5 Tracking # N
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Staff Name and Title (Print) Signature Date

If you think you have a medical, mental health or dental emergency, notify staff immediately. If additional space is needed, use Section A of the
CDCR 602 HC A Health Care Grievance Attachment. Only one CDCR 602 HC A will be accepted. You must submit this health care grievance to the Health Care
Grievance Office for processing. Refer to California Code of Regulations (CCR), Title 15, Chapter 2, Subchapter 2, Article 5 for further guidance with the health
care grievance process.

Do not exceed more than one row of text per line. WRITE, PRINT, or TYPE CLEARLY in black or blue ink.
Name (Last, First, Ml): CDCR #: Unit/Cell #:
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SECTION A: ‘|Explain the applied health care policy, decision, action, condition. or omission that has had a material adverse effect upon your health of

welfare for which you seek administrative remedy: “ly Li £ tf ee slog. AAS. EY deh ea tf
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SECTION B: [HEALTH CARE GRIEVANCE REVIEW INSTITUTIONAL LEVEL: Staff Use Only Is a CDCR 602 HC A attached? aves [| No

This grievance has been:

[_] Rejected (See attached letter for instruction): Date: Date:

|_|] Withdrawn (see section E)

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Interview Conducted? Ny ryes [] No Date of Intervie Int Location: C
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Interviewer Name and Title (print): L.. Schobelock, RN __ Signature; Pet Date: CT 2 + 2023

Reviewing Authority a
Name and Title (print): Q- 0 MUCSUA\ (WA, WW) Stones ois

Disposition: See attached letter [] Intervention fire Intervention

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
Page 2 of 2

HEALTH CARE GRIEVANCE
CDCR 602 HC (Rev. 10/18) tracking #: PAD LK PACH (2 oF

Health Care Grievance Appeal. If you are dissatisfied with the Institutional Level Grievance Response, explain the reason below (if more
space is needed, use Section C of the COCR 602 HC A), and submit the entire health care grievance package by mail for Headquarters’ (HQ) Level

pein = health care grievance appeal review, Mail to: Health Care Correspondence and Appeals Branch, P.O. Box 588500, Elk SBrONE CA 95758.

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SECTION D: |HEALTH CARE GRIEVANCE APPEAL REVIEW HQ LEVEL: Staff Use Only Is a CDCR 602 HC A attached?
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[_] Withdrawn (see section E) CG) Accepted
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Interview Conducted? L] Yes fi} No Date of Interview: _ Interview Location;
Interviewer Name and Title (print): Signature: Date:
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This decision exhausts your administrative remedies.

HQ Use Only: Date closed and mailed/delivered to grievant: JAN 12 cuca

SECTION E: |Grievant requests to WITHDRAW health care grievance: | request that this health care grievance be withdrawn from further review, Reason:

Date Submitted:

Grievant Signature:

Staff Name and Title (Print): |signature: Date:

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Unauthorized collection, creation, use. disclosure, modification or destruction of personally identifiable information and/or protected health information may subject individuals to civil

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HEALTH CARE GRIEVANCE ATTACHMENT Page 1 of 2
CDCR 602 HC A (10/18)

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Attach this form to the CDCR 602 HC, Health Care Grievance, only if more space is needed, Only one CDCR 602 HC A may re used.
Do not exceed more than one row of text per line. WRITE, PRINT, or TYPE CLEARLY in black or blue ink,

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STATE OF CALIFORNIA
HEALTH CARE GRIEVANCE ATTACHMENT
CDCR 602 HC A (10/13)

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Page 2 of 2

Tracking #: esO Me VEBCOANASES

SECTION C:| —.
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EXHIBIT “3”

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CLAIMANT GRIEVANCE RECEIPT ACKNOWLEDGMENT

Offender Name: THOMPSON, DAVID A. CDC#: AUI252

Date: 09/25/2023
Current Location: 2)0-Facility C Current Area/Bed: C O11 1L1450G1LL

Fron: Office of Grievances at RJ Donovan Correctional Facility

Re: Log # 000000454203

The California Department of Corrections and Rehabilitation Office of Grievances at RJ Donovan Correctional!
Facility received your grievance on 09/25/2023, Your grievance has been assigned for review and response.

Pursuant to California Code of Regulations, title 15, the Office of Grievances will complete its review no later
than 11/25/2023,

Please be informed that the Office of Grievances will not respond to any inquiries about the status of a
grievance prior to the date shown above,

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GRIEVANCE
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CDCR 602 1 (Rev ) agp 28 mpage | of 2

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In order for the Department to understand your complaint, please answer all of the following questions:

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GRIEVANCE CONTINUATION PAGE
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EXHIBIT "4"

Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.31 Page 13 of 46

REASONABLE ACCOMMODATION PANEL (RAP) RESPONSE

RAP Meeting Date: 09/21/2023 Date IAC Received 1824: 09/20/23 1824Log Number: RJD-452217
Inmate’s Name: THOMPSON CDCR# AU9252 Housing: RJD-C-11-146

RAP Staff Present: A. Reyes, ADA Coordinator; Dr. Hodges, Chief Physician & Surgeon; R. Blanding, Custody Appeals Representative;
B. Campbell, Health Care Compliance Analyst; V. Anderson, Health Care Grievance Representative; Dr. C. Kauffman, Clinical
Psychologist; B. Millum, Education.

Summary of Inmate’s 1824 Request:
1. Requesting single cell housing to be permanent for their safety and the safety of the prison.
Interim Accommodation:
Interim accommodation provided:

FINAL RESPONSE:
RAP is able to render a final decision:

Inmate Thompson submitted a Request for Reasonable Accommodation Requesting single cell housing to be permanent for their safety
and the safety of the prison. Due to being incontinent. Alleges they shouldn't have to fight their cellmates due to that happening.

An Armstrong Court Compliance Sergeant (ACCS) interviewed Inmate Thompson on 09/20/23 to gather any additional information on
the request submitted. Per the ACCS, Inmate Thompson was educated to submit a CDCR form GA22 directed to assigned counselor.
Inmate Thompson stated that he does not have issues accessing incontinent supplies. Housing unit staff indicated no observation of
conflicts with other inmates. Neve asks for showers or supplies. No hygiene issues or cell hygiene issues. Participates in Program,
Services and activities without problems. The ACCS notes Inmate Thompson is current the sole occupant of cell 146 in Housing Unit 11.
Inmate Thompson stated he does not have safety concerns. Inmate Thompson is 6’ 1” 249lbs and appears fit. Inmate has no incidents
in SOMS guesting he has been a victim. The ACCS determined an interim accommodation is not required.

A DVP was submitted by a Medical Subject Matter Expert (SME) on 09/20/2023 stating patient does have incontinence; however, there
is no medical indication for medical isolation.

In consideration of your Reasonable Accommodation Request, your current case factors to include medical, mental health and disabilities
were reviewed for consideration of single cell housing. RAP discovered no records suggesting physical or mental vulnerabilities that
could hinder Inmate Thompson ability to defend themselves. SOMS physical limitations to job or other reflects lifting restrictions only. At
this time, there has been no change in your case factors to warrant a change to the most recent committee action, which deemed Inmate
Thompson double cell cleared. Based upon a thorough review of all case factors and relevant information it appears that there is no
significant risk of attacks that would necessitate singe cell placement solely due to incontinence concerns. Therefore, incontinence should

not be the sole basis for a singe cell assignment at this time. If case factors change, Inmate Thompson | is encouraged to submit a CDCR
1824 request for revelation.

The RAP finds that there are no other outstanding matters on the CDCR 1824 that require solution or intervention at this time. The
rendering of this RAP decision is based upon the review of submitted documentation, input and collaboration between all panel members.

Direction if dissatisfied: If you disagree with this decision, you may submit a CDCR 602 Grievance and/or a CDCR 602 HC
Grievance, Be sure to attach a copy of this response along ‘with your CDCR 1824 as supporting documents.

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Page 1 of 1 RAP Response - rev 08-17-17 docx

A. Reyes, AW oo
ADA Coordinator/Designee

Date sent to inmate:

Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.32 Page 14 of 46

EXHIBIT "5"
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OFFICE OF GRIEVANCES DECISION

Offender Name: THOMPSON, DAVID ALLEN Date: 10/18/2023
CDC#: AU9252

Current Location: RJD-Facility C Current Area/Bed: C 011 1 - 146001L

Log #: 000000452217 _

Claim #: 001

| Received at Institution/Parole Region: — RJ Donovan Correctional Facility
| Submitted to Facility/Parole District: RID-Facility C
| Housing Area/Parole Unit:

| Category: CDCR Form 1824 Sub-Category: Single Cell Category (SCS)
' 1, CLAIM

| 1, Requesting single cell housing to be permanent for their safety and the safety of the prison.
IJ, RULES AND REFERENCES

|
| A. CONTROLLING AUTHORITY
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B. DOCUMENTS CONSIDERED

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| Disability Verification Process Worksheet (s)

| Interim Accommodation Procedure (JAP)/ Interview Worksheet
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TTT, REASONING AND DECISION

| prison, Due to being incontinent. Alleges they shouldn't have to fight their cellmates due to that happening,
| An Armstrong Court Compliance Sergeant (ACCS) interviewed Inmate Thompson on 09/20/23 to gather any additional information on the request

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| appears fit. Inmate has no incidents in SOMS disciplinary record suggesting he has been a victim, The ACCS determined an interim accommodation is not

|

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| A DVP was submitted by a Medical Subject Matter Expert (SME) on 09/20/2023 stating patient does have incontinence; however, there is no medical
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| Inmate Thompson submitted a Request for Reasonable Accommodation Requesting single cell housing to be permanent for their safety and the safety of the

In consideration of your Reasonable Accommodation Request, your current case factors to include medical, mental health and disabilities were reviewed for
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warrant a change to the most recent committee action, which oe Inmate Thompson double cell cleared. Based upon a thorough review of all case

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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.34 Page 16 of 46

EXHIBIT "6"
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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
APPEAL OF GRIEVANCE pees h “NW/ED)

COCR 602-2 (Rev. 01/22) OO}. par Page 1 of 2

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OGT Log No: ff 000000452217 } Date Received:

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| Categories:

Claimant Name: THOMPSON, DAVID ALLEN 4’ CDCR #: AU9252
Institution/Parole Region: RO Ds pr Current Housing/Parole Unit:_ C_—// —/ Yé

STAFF USE GNLY

Use this form to appeal a decision or a remedy by the Office of Grievances.
Do not include new complaints on this form, they must first be filed with the Office of Grievances on a Form 602-1.

OGT Log No: 000000452217 Claim No:

Explain the reason for your appeal, Be as specific as you can,

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This form shall be submitted by mail to:
Office of Appeals

Department of Corrections and Rehabilitation

P.O. Box 942883 _|*

Sacramento, CA 95811 inivals:

IMPORTANT: ‘

The Office of Appeals will consider all of the supporting documentation you previousty submitted to the
Office of Grievances when reviewing your appeal, but will not consider any new documentation,
Therefore, it is recommended you not attach any documentation to this form.
Furthermore, any documentation you attach to this form will not be returned to you.

Claimant signaty Date Signed: [0 LP -C3
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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.36 Page 18 of 46

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STATE OF CALIFORNTA DEPART ENT GF CORRECTIONS AND REHABILITATION
APPEAL OF GRIEVANCE Obdni nahn PAGE

CDCR 602-2 (Rev. 01/22) Page 2 of 2
OGT Log No: 000000452217 Claim No:

Explain the reason for your appeal. Be as specific as you can,
! am dissatisfied with the response I was given because Vo, Ape prvieths” “IO Lks ¢ Mul fj ee be
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EXHIBIT "7"

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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.38 Page 20 of 46

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Corrections and Rehabilitation } h 2

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OOA ACKNOWLEDGMENT RECEIPT

Offender Name: THOMPSON, DAVID A. Date: 10/30/2023
CDC#: AUQ252

Current Location: RJD-Facility C

Current Area/Bed: C 011 1146001L
From: Office of Appeals

Re: Log # 000000452217

The California Department of Corrections and Rehabilitation, Office of Appeals received your appeal on 10/30/2023,
Your appeal has been assigned for review and response.

Pursuant to California Code of Regulations, title 15, the Office of Appeals will complete its review no later than
12/30/2023.

Please be informed that the Office of Appeals will not respond to any inquiries about the status of an appeal prior to
the date shown above.

CUCR SOMS OGTT305
OOA ACKNOWLEDGMENT RECEIPT

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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.39 Page 21 of 46

EXHIBIT "8"
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.40 Page 22 of 46

\ fe CALIFORNIA DEPARTMENT of
i = Corrections and Rehabilitation

OFFICE OF APPEALS DECISION

Offender Name: THOMPSON, DAVID ALLEN
CDC#: AU9252

Current Location: RJD-Facility C

Date: 12/28/2023

Current Area/Bed: C 011 1 - 146001L

Log #: 000000452217

Claim # 001

Received at Institution/Parole Region: RJ) Donovan Correctional Facility
Submitted to Facility/Parole District: RJD-Facility C
Housing Area/Parole Unit:

Category: CDCR Form 1824 Sub-Category: Single Cell Category (SCS)

I. ISSUE ON APPEAL

You are disputing the response provided to you within Reasonable Accommodation Panel Response, Log No. 452217, in which you are requesting single cell
status due to incontinence.
‘

TI, RULES AND REFERENCES
A. CONTROLLING AUTHORITY

Title 15, section 3483;
Reasonable Accommodation Panel Desk Reference Manual.

B. DOCUMENTS CONSIDERED

CDCR 602-1 and CDCR 602-2;

CDCR 1824, Reasonable Accommodation Request, Log No. 452217;

Interim Accommodation Procedure/Interview Worksheet, Log No. 452217;
Disability Verification Process, Log No. 452217;

RAP Response, Log No. 452217;

Strategic Offender Management System, Offender Grievance/Appeal Tracking.

III. REASONING AND DECISION

The RAP is comprised of both medical and custody staff who are in the best position to evaluate your needs. An Interim Accommodation Assessment was
completed, and as stated in the Reasonable Accommodation Panel Response, you are safely accessing programs, services, and activities. Through interview
-it was determined that at the time of the interview you had no cellmate. Per the Health Care Department Operations Manual, Section 3.6.2, Comprehensive
- Accommodation, except for control of infectious disease or for mental health reasons as recommended by a Mental Health Interdisciplinary Treatment Team,
housing (single cells, cell housing, dormitory housing) is not considered a medically necessary accommodation and will not be ordered by health care staff.
Pursuant to Title 15, section 3269(d), "Single cell status shall be considered for those inmates who demonstrate a history of in-cell abuse, significant in-cell
violence towards a cell partner, verification of predatory behavior towards a cell partner, or who have been victimized in-cell by another inmate." On
November 7, 2023, your double cell status was reaffirmed by the Institution Classification Committee during your annual review. The Office of Appeals finds

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EXHIBIT “9”

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HEALTH CARE SERVICES

Closing Date: NOY 28 2023

To: THOMPSON, DAVID (AU9252)
C O11 1146001LP
Richard J Donovan Correctional Facility
480 Alta Road
San Diego, CA 92179

Tracking #: RJD HC 23001337

RULES AND REGULATIONS

The rules governing these issues are: California Code of Regulations, Title 15; Health Care Department
Operations Manual; Mental Health Services Delivery System Program Guide; California Department of
Corrections and Rehabilitation Department Operations Manual.

HEALTH CARE GRIEVANCE SUMMARY

In your CDCR 602 HC, Health Care Grievance, you explained the decision, action, condition, omission, policy,
or regulation that has had a material adverse effect upon your health or welfare for which you seek
administrative remedy.

Issue Description

Issue: Chrono Issues ( Single Cell ) You have potential safety concerns if you get a new cellmate
due to incontinence issues and are wanting single cell.

INTERVIEW

On October 24, 2023, you were interviewed by L. Schobelock, Health Care Appeals Registered Nurse
(HCARN) regarding this health care grievance. During the interview, you were allowed the opportunity to
fully explain your health care grievance issue(s).

INSTITUTIONAL LEVEL DISPOSITION
No intervention. [| Intervention.

BASIS FOR INSTITUTIONAL LEVEL DISPOSITION
Your health care grievance was reviewed by the Centralized Screening Team per California Code of
Regulations, Title 15, Section 3486.1, and was deemed not to meet the definition of staff misconduct.

Your health care grievance package and health record, and all pertinent departmental policies and procedures
were reviewed. These records indicate:

¢ On September 24, 2023, you were seen by Mental Health staff. It was noted you have no acute safety
concerns currently during the assessment.

e Per chart review, you are not documented as having an infectious disease requiring single cell.
Incontinence is nota criteria for a single cell chrono. It is recommended you address your concerns with
your Correctional Counselor, other appropriate custody staff, or through the Institutional Classification

Note 1: The institutional level review is based on records available as of the date the Institutional Level Response is signed by the reviewing

authority. &, ee

Note 2: The closing date reflects the closed, mailed/delivered date of the health care grievance. ‘ ; cael

Note 3: Permanent health care grievance document. Do not remove from the health care grievance package. Vy) Y oO er L v2
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HEALTH CARE SERVICES
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.43 Page 25 of 46
D.THOMPSON, AU9252
RJD HC 23001337
Page 2 of 2

Committee process.

¢ Your providers did not document health concerns that would preclude housing you in a shared cell
environment, Per the Health Care Department Operations Manual, Section 3.6.2, Comprehensive
Accommodation, except for control of infectious disease or for mental health reasons as recommended
by a Mental Health Interdisciplinary Treatment Team, housing (single cells, cell housing, dormitory
housing) is not considered a medically necessary accommodation and will not be ordered by health care
staff. Per California Code of Regulations, Title 15, Section 3269(f), “In cases where single cell status is
recommended by clinical staff due to mental health or medical concerns, a classification committee
shall make the final determination of an inmate’s cell assignment.” As such, it is recommended you
address your concerns with your Correctional Counselor, other appropriate custody staff, or through the
Institutional Classification Committee process.

* Your medical condition will continue to be monitored with care provided as determined medically or
clinically indicated by the primary care provider. If you have additional health care needs, you may
access health care services by utilizing the approved processes in accordance with California
Correctional Health Care Services policy.

While the health care grievance process is a means of setting forth your health care concerns, if is not a
substitute for direct communication about your health with your health care providers. You are encouraged to
continue your care with your assigned health care providers and share with them new or additional clinical
information about your conditions that you believe may affect your care. However, California law directs
your health care providers to offer and provide only the care they determine to be currently medically or
clinically necessary for you, in accordance with appropriate policies and procedures, Previous orders from
other health care facilities or staff, input from health care consultants, and/or your own personal preferences
may be considered, but do not control the professional judgment of your current health care providers,

Concerns regarding custody actions, decisions, or application of policies or procedures are not health care
services issues over which California Correctional Health Care Services has jurisdiction. As such, any
concerns related to custody staff or functions will not be addressed in this health care grievance response,

If you are dissatisfied with the Institutional Level Response, follow the instructions on the CDCR 602 HC,
Health Care Grievance, and submit the entire health care grievance package for headquarters’ level
review. The headquarters’ level review constitutes the final disposition on your health care grievance and
exhausts your administrative remedies.

R. Barenchi, MD : Reviewed and Signed Date
Chief Medical Executive (A)
Richard J Donovan Correctional

Facility

Note 1: The institutional level review is based on records available as of the date the Institutional Level Response is signed by the reviewing

authority. Ge

Note 2: The closing date reflects the closed, mailed/delivered date of the health care grievance. weave a wep

Note 3: Permanent health care grievance document. Do not remove from the health care grievance package. {4 Y | 'O y by Le
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HEALTH CARE SERVICES
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.44 Page 26 of 46

Page | of |

ADA/Effective Communication Patient Summary
As of: 11/28/2023 15:12

Patient Information Reading Level!

NAME: THOMPSON, DAVID Reading Level: 12.9
COCR: AUI252

Reading Level Date: 09/24/2015 00:00

Disability Placement Program
Learning Disabilities
Current OPP Code(s):
* DNH Learning Disabilities: No
* DPM
aa Ei : 6 Engush Proficiency
DPP Verification/Accommodation Date: 05/21/2 ws mes eee
10:44:29 PDT
LEP: No
Current Housing Restrictions/Accomodations:
* Lifting Restriction Primary Language: English
* Bottem Bunk
* Ground Ficor- No Stairs

gem, Em dy WA elie = eee ‘
Durasia Medical Equiprnent

Methods of Communication Current ISSUED DME:
* Cane Permanent
SLI: No * Eyeglass Frames Permanent
* Hearing Aid Permanent
Hearing Primary: Need Staff to Speak Loudly and * Hearing Impaired Disability Vest Permanent
Clearly * Incontinence Supplies Permanent
* Knee Braces Permanent
Hearing Secondary: Hearing Aids * Mobility Impaired Disability Vest Permanent
* Non-invasive Airway Assistive Devices (C-Pap)
Speech Primary: Permanent
* Therapeutic Shoes/Orthotics Permanent
Speech Secondary: * Truss Hernia Support Permanent

* Other Permanent:hard cervical callar wedge pillow
Vision Primary:
Dental Prosthetic:

Vision Secondary: * Upper Denture Type: None
* Lower Denture Type: None
Interview Bate: 04/24/2023 00:00 * Night Guard: Yes

oo. Dental Prosthetic Date: 10/09/17 10:11:60 PDT
Pevelonmental Disability Program

Current DDP Code: MHSDS

Effective Date: MHLOC: CCCMS CEA

Adaptive Suppart Needs:

Hlev/Cs’Users victoria. sandaval/AppData/Local’Vemp/37/dov64a2a44e-aal b-4507-8d2 1... 14/28/2023
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.45 Page 27 of 46

EX BIBIT “10”

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~ Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.46 Page 28 of 46

HEALTH CAR: SERVICES

Headquarters’ Level Response

Closing Date:

To: THOMPSON, DAVID (AU9252)
Richard J Donovan Correctional Facility
480 Alta Road
San Diego, CA 92179

From: California Correctional Health Care Services

Health Care Correspondence and Appeals Branch
P.O. Box 588500
EIk Grove, CA 95758

Tracking #: RJD HC 23001337

RULES AND REGULATIONS

The rules governing these issues are: California Code of Regulations, Title 15; Health Care Department
Operations Manual; Mental Health Services Delivery System Program Guide; California Department of
Corrections and Rehabilitation Department Operations Manual.

HEALTH CARE GRIEVANCE APPEAL SUMMARY

In your CDCR 602 HC, Health Care Grievance, you explained the decision, action, condition, omission, policy,
or regulation that has had a material adverse effect upon your health or welfare for which you seek
administrative remedy,

Issue Description
Issue: Chrono Issues ( Single Cell ) You have potential safety concerns if you get a new cellmate
due to incontinence issues and are wanting single cell.

Issue: Grievances ( Grievance Status ) Emergency interview.

HEADQUARTERS’ LEVEL DISPOSITION

No intervention. [| Intervention.

BASIS FOR HEADQUARTERS’ LEVEL DISPOSITION
Your health care grievance was reviewed by the Centralized Screening Team per California Code of Regulations,
Title 15, Section 3486.1, and was deemed not to meet the definition of staff misconduct against health care staff.

Your health care grievance package and health record, and all pertinent departmental policies and procedures
were reviewed. These records indicate:

Note |: The headquarters' level review is based on records available as of the date the Headquarters’ Level Response Is signed by the
reviewing authority.

Note 2: The closing date reflects the closed, mailed/delivered date of the health care grievance. yo cy y é a
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P.O. Box 388500

HEALTH CARE SERVICES Elk Grove, CA 95758
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.47 Page 29 of 46
D. THOMPSON, AU9252
RJD HC 2300133

Page 2 of 3

* Health care staff, utilizing clinical expertise within the scope of their licensure, is responsible for
determining tf a health care grievance warrants expedited processing, not the grievant. Your health care
grievance was identified by licensed clinical staff to not meet the criteria for expedited processing per
California Code of Regulations, Title 15, Section 3999.228(b)(2) and/or 3999.230(b)(1)(B).

¢ You alleged you were not interviewed regarding your health care grievance issues; however, your
allegation is refuted per the CDCR 602 HC, Health Care Grievance, and the Institutional Level Response,
which indicate you were interviewed on October 24, 2023, regarding this health care grievance.

¢ You are enrolled in the Chronic Care Program, where your medical conditions and medication needs are
closely monitored. Progress notes indicate there is a plan of care in place and the primary care provider
has discussed the plan of care with you.

¢ On October 26 and December | 1, 2023, you were seen by the primary care provider and mental health
staff for issues unrelated to this grievance. Your providers did not document health concerns that would
preclude housing you in a shared cell environment.

o Per the Health Care Department Operations Manual, Section 3.6.2, Comprehensive
Accommodation, except for control of infectious disease or for mental health reasons as
recommended by a Mental Health Interdisciplinary Treatment Team, housing (single cells, cell
housing, dormitory housing) is not considered a medically necessary accommodation and will not
be ordered by health care staff. Per California Code of Regulations, Title 15, Section 3269(f), “In
cases where single cell status is recommended by clinical staff due to mental health or medical
concerns, a classification committee shall make the final determination of an inmate’s cell
assignment.” As such, it is recommended you address your concerns with your Correctional
Counselor, other appropriate custody staff, or through the Institutional Classification Committee
process.

While you may not agree with the decisions of your treatment team, it does not constitute staff misconduct or
deliberate indifference to your health care needs.

The responsibilities of overall treatment planning within the Mental Health Services Delivery System rest with an
Interdisciplinary Treatment Team. These responsibilities include formulation and approval of individualized
treatment plans including a diagnosis, identified problems, treatment objectives measurable in behavioral terms,
housing recommendations, property recommendations at the inpatient level, and level of care determinations. In
consultation with the Interdisciplinary Treatment Team, the Primary Clinician develops an individualized
treatment plan for all Mental Health Services Delivery System patients. Treatment plans are based on current
assessinents from all disciplines and with as much participation from the patient as possible. The patient shall be
included in the Interdisciplinary Treatment Team, unless the patient refuses to participate. While it is best if the
treatment team and patient agree, unanimity is not required.

You have the right to exhaust your administrative remedies or file a civil action. It is your personal responsibility
to obtain legal counsel if you so choose. The Prison Litigation Reform Act (42 U.S.C § 1997e[a]) states: “No
action shall be brought with respect to prison conditions under § 1983 of this title, or any other Federal law, by a
prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.”

Note |: The headquarters’ level review is based on records available as of the date the Headquarters’ Level Response is signed by the
reviewing authority.

Note 2: The closing date refleets the closed, mailed/delivered date of the health care grievance. p Uf 5 é b “2...
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HEALTH CARE SERVICES Elk Grove. CA 95758
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.48 Page 30 of 46
D.THOMPSON, AU9252
RJD HC 2300133

Page 3 of 3

While California Correctional Health Care Services health care providers are responsible for documenting
health factors to be considered in making placement decisions, custody is responsible for determination of
appropriate institutional placement and housing assignment. As such, it is recommended you address your
concerns with your Correctional Counselor, other appropriate custody staff, or through the Institutional
Classification Committee process,

It is not in the purview of grievants to dictate administrative actions in regard to the health care grievance
process. Your health care grievance was processed per California Code of Regulations, Title 15, Chapter 2.
Subchapter 2, Article 5.

While the health care grievance process is a means of setting forth your health care concerns, it is not a
substitute for direct communication about your health with your health care providers. You are encouraged to
continue your care with your assigned health care providers and share with them new or additional clinical
information about your conditions that you believe may affect your care. However, California law directs your
health care providers to offer and provide only the care they determine to be currently medically or clinically
necessary for you, in accordance with appropriate policies and procedures. Previous orders from other health
care facilities or staff, input from health care consultants, and/or your own personal preferences may be
considered, but do not control the professional judgment of your current health care providers.

Concerns regarding custody actions, decisions, or application of policies or procedures are not health care
services issues over which California Correctional Health Care Services has jurisdiction. As such, any concerns
related to custody staff or functions will not be addressed in this health care grievance response. This does not
preclude the Centralized Screening Team from identifying allegations of staff misconduct against custody staff
during the review of this health care grievance and processing such in accordance with California Code of
Regulations, Title 15, Section 3486.2.

This decision exhausts your administrative remedies.

AIC er January 12, 2024

S. Gates, Chief Reviewed and Signed Date
Health Care Correspondence and Appeals Branch

Policy and Risk Management Services
California Correctional Health Care Services

Note |: The headquarters’ level review is based on records available as of the date the Headquarters’ Level Response is signed by the
reviewing authority,
Note 2: The closing date reflects the closed, mailed/delivered date of the health care grievance. Io U6 6 ( ” D
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re ae ms - P.O. Box 3883500
HEALTH CARE SERVICES

Elk Grove. CA 95758
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.49 Page 31 of 46

EXHIBIT « 11”
Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.50 Page 32 of 46
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ree ornare 5 SAREE BUTT A : iv Jo aC / , f ¢ 7

OFFICE OF GRIEVANCES DECISION

Offender Name: THOMPSON, DAVID ALLEN

Date: 10/03/2023
CDC#: AU9252

Current Location: RJD-Facility C Current Area/Bed: C 0111 - 1460011

Log #: (00000454203

Clainy #: 001
Recaived at Institution/ Parole Region: 2} Donovan Correctional Facility

Submitted to Facility/Parole District: RJ Donovan Correctional Facility
' Housing Area/Parole Unit:

Cetagary: Offender Classification Sub-Category: Celling Issues (single/double)

The California Department of Corrections and Rehabilitation received your grievance on 09/25/2023 which you submitted on 09/25/2023. Your request far |
an ntarvew, item, assistance, or service was recir acted to appropriate staff in accordance with the California Code of Regulations, title 15,

Your request will be addressed by appropriate staff at RJ Donovan Correctional Facility, as determined by the Reviewing Authority.

if you are dissatisfied with this response you may appeal this decision by mailing the CDCR Form 602-2 included in this response to the California
| Oapartment of Corrections and Rehabilitation, Office of Appeals. Do not resubmit this claim to the Office of Grievances.

|
| Decision: Redirected

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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.51 Page 33 of 46

STATE GF CALIFORMIA DEPARTMENT OF CORRECTIONS AND REHABILITATICN
APPEAL OF GRIEVANCE
CDCR 602-2 (Rev. 01/22) Page 1 of 2
| OGT Log No: 000000454203 Date Raceived:
| STAFF USE ONLY Decision Due Date:

Categories:
Claimant Name: THOMPSON, DAVID ALLEN CDCR #: AU9252
Ynslitution/Parale Region: Current Housing/ Parole Unit:

eas as

STAFF USE ONLY

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Use _this form to appeal a decision or a remedy by the Office of Grievances.
Do not include rew complaints on this form, they must first be filed with the Office of Grievances on a Form 602-1.

OGT Log No: 000000454203 Claim No:

Explain the reason for your appeal. Be as specific as you can.

Tam dissatisfied with the response I was given because

This form shall be submitted by mail to:
Office of Appeals
Department of Corrections and Rehabilitation
P.O. Box 942883
Sacramento, CA 95811

IMPORTANT:

The Office of Appeals will consider all of the supporting documentation you previously submitted to the
Office of Grievances when reviewing your appeal, but will not consider any new dccumentation.
Therefore, it is recommended you not attach any documentation to this form.
Furthermore, any documentation you attach to this form will not be returned to you.

Claimant Signature: Date Signad:

ADA Accessible

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STATE CF CALIFORNIA

APPEAL OF GRIEVANCE

CDCR 402-2 (Rev. 01/22)

OGT Log No:

000000454203

CONTINUATION PAGE

Ex ain the reason for your appeal. Be as specific as you can.
T er) dissatisfied with the response I was given because

DEPARTMENT OF CORRECTIONS AND REHABILITATION

Page 2 of 2

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EXHIBIT “12”

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Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD. 54 Page 3 36 of 46

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STATE OF CALIFORNA DEPARTMENT OF CORRECTIONS AND REHABILITATION
“APPEAL OF GRIEVANCE
eDeR 602-2 Cat Page 1 of 2
Appeal #: Sous Date Received: __
A ERE pete cue: SSacinoe a ee
OCT 16 b a03 | Categories ee
vee anievanice #: SH 2 o 3 Us

Claimant Name: fl p 5en (sas _ CDCR #: AU-GF25 Z
Current Housing/Perole Unit: a Ul. - 7 ae a _InatitutionFactity/Psote Region: K J D ESE f

Th o claims that can be appealed.
C ere are no claims appeale eve

a ae imminent Fusk. i
[J The following calms cannot be aphosted: Z 008 Nee DE
Claim #s: . ritials: Te bcte: II)
This is the process to appeal the decision made regarding a claim that is not listed above.
Claim #: :
Explain the reason for your appeal of any claims not listed above. Be as specific as you can.
! am dissatisfied with the response | was given because __
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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
APPEAL OF GRIEVANCE. ’
CDCR 602-2 (03/20) Page 2 of 2
Claim #:

Explain the reason for your appeal. Be as specific as you can. . ‘)
| am dissatisfied with the response | was given because_ 1 “C SS i ae

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Are there documents that would be helpful to support your position’? Attach copies of those documents, if you don’t have
the documents, identify them as best you can below:

Reminder: Please attach all documents in your possession that support your claim(s).

Please note that this form and supporting documents will not be returned to you.

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EXHIBIT “13”

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OOA ACKNOWLEDGMENT RECEIPT

Offender Name: THOMPSON, DAVID A. Date: 10/17/2023
CDC#: AU9252

Current Location: RJD-Facility C

Current Area/Bed: C 011 1146001L
From: Office of Appeals

Re: Log # 000000454203

The California Department of Corrections and Rehabilitation, Office of Appeals received your appeal on 10/16/2023.
Your appeal has been assigned for review and response.

Pursuant to California Code of Regulations, title 15, the Office of Appeals will complete its review no later than
12/16/2023.

Please be informed that the Office of Appeals will not respond to any inquiries about the status of an appeal prior to
the date shown above.

CDCR SOMS OGTT305
QOA ACKNOWLEDGMENT RECEIPT

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OFFICE OF APPEALS DECISION

Offender Name: THOMPSON, DAVID ALLEN
CDC#: AU9252

Current Location: RJD-Facility C

Date: 11/22/2023

Current Area/Bed: C 011 1 - 146001L

Claim # 001

Received at Institution/Parole Region: RJ Donovan Correctional Facility
Submitted to Facility/Parole District: RJ Donovan Correctional Facility
Housing Area/Parole Unit:

Category: Offender Classification Sub-Category: Celling Issues (single/double)

| I. ISSUE ON APPEAL
You are appealing the redirection of your dispute.
II. RULES AND REFERENCES
A. CONTROLLING AUTHORITY
Title 15, section 3481
B. DOCUMENTS CONSIDERED
CDCR Form 602-1 and 602-2, Log No. 454203

Grievance/Appeal Log No. 452217

_ ITI, REASONING AND DECISION
This claim concerns a dispute of your double cell housing status due to your incontinence and safety concerns. Because this claim disputes a decision made
by staff, this claim should have been addressed on the merits instead of redirected as a request. Therefore, this claim is granted.
IV. REMEDY
No further remedy is warranted, as this matter was already addressed by the Office of Grievances in claim no. 452217, and an appeal of the grievance
decision in log no. 452217 is currently pending review by the Office of Appeals.
Decision: Granted

After a thorough review of all documents and evidence available at the time of this written decision, it is the order of the Office of Appeals that this claim is
granted. This decision exhausts the administrative remedies available to the claimant within CDCR.

Staff Signature | Title

Date/Time
J, Moeckly [MO}0037 | |

Reviewing Authority 11/21/2023

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
REQUEST TO IMPLEMENT REMEDIES
CDCR 602-3 (Rev. 01/22) Page 1 of 1
OGT Log No: 000000454203 Date Received:
STAFF USE ONLY Remedy Confirmed: Remedy Unconfirmed:
Screen Out: Status Letter: Resolved:
Claimant Name: THOMPSON, DAVID ALLEN CDCR #: AU9252
Institution/ Parole Region: Current Housing/ Parole Unit:

Use this form to ask for a remedy that was granted but is overdue,
Do not include new complaints on this form, they must first be filed with the Office of Grievances on a Form 602-1.

Grievance or Appeal Log No: 000000454203

Claim No:

Date of Decision:

Description of Remedy:

This form shall be submitted by mail to:
Remedies Compliance Coordinator
Department of Corrections and Rehabilitation
P.O. Box 942883
Sacramento, CA 95811

IMPORTANT:

The Remedies Compliance Program is only intended to resolve delays in the implementation of a
remedy previously granted by the Office of Grievances or the Office of Appeals; it is not intended for
new issues, to seek additional remedies, or to dispute the remedy provided.

When reviewing this request, the Office of Appeals will consider all of the supporting documentation
you previously submitted to the Office of Grievances but will not consider any new documentation,
Therefore, it is recommended you not attach any documentation to this form.

Furthermore, any documentation you attach to this form will not be returned to you.

Claimant Signature: Date Signed:

ADA Accessible

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EXHIBIT “14”
/ Case 3:24-cv-00357-MMA-DDL Document 1-2 Filed 02/22/24 PagelD.62 Page 44 of 46

State of California Le Department of Corrections and Rehabilitation

——Vlemo randum Oe Fm

Date : January 19, 2016

To ‘ Associate Directors, Division of Adult Institutions
Wardens

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Subject’ JNMATE HOUSING ASSIGNMENT CONSIDERATIONS DURING THE
SCREENING AND HOUSING PROCESS

This memorandum reiterates and clarifies the obligation of staff to consider the vulnerability of
inmates with medical, mental health condition or developmental disabilities when determining
whether to grant single-cell status under the California Department of Corrections and
Rehabilitation’s Department Operations Manual (DOM), Chapter 5, Article 46 — Inmate
Housing Assignments (THA). The purpose of the IHA policy is to establish procedures for
determining the initial and subsequent housing assignments of inmates. The
Warden/Administrator of the institution/facility is responsible for maximizing proper bed
utilization, ensuring inmates are appropriately -housed, and ensuring the overall safety and
security of the institution.

A staff member at the level of a correctional supervisor or above is designated as the screening
authority. The screening authority weighs many factors regarding the inmate’s custodial
history and needs when considering housing assignments. During housing reviews, staff must
use correctional experience and training, correctional awareness, and a sense of correctional
reasonableness to determine an inmate’s suitability for dormitory, celled, and single-celled
housing. All staff are to be cognizant of all available factors when determining an inmate’s
housing assignment. Typically, factors that are weighed during the review process include, but
are not limited to;

® Length of sentence

e Enemies and victimization history

¢ Criminal influence demonstrated over other inmates

e Vulnerability of the inmate due to medical, mental health, and disabilities
¢  Reason(s) for segregation

e History of “S” suffix determination

e History of in-cell assaults and/or violence

e Security Threat Group affiliation and/or association

e Nature of commitment offense

¢ Adaptive support needs listed on the CDCR Form 128 C-2

An inmate with a medical, mental health condition or developmental disabilities may be so
severely disabled they cannot reasonably protect themselves if physically threatened, or may
have a condition or disability which increases their vulnerability to attack, threats, or extortion
by acell partner. It is not necessary that the inmate also demonstrate a history of in cell abuse

in order to be approved for single-cell status,

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Associate Directors, Division of Adult Institutions
Wardens
eee Page 2

Examples of inmates who should be considered for single-cell status, or other appropriate
housing, on the basis of vulnerability arg:

» An inmate who is blind and states he is at risk of an attack because of his disability.

e _ An inmate who is incontinent, and has “uncontrolled mishaps” that require him to clean
himself at all hours of the day and night.

«An inmate with a mental illness whose psychiatric symptoms or conditions may create
conflict or vulnerability when housed with cellmates or dorm-mates.

e  Aninmate who states he has a history of being victimized by his cell partner as a result of
his disability. ~
° An inmate with gender dysphoria (studies show this can increase the risk of sexual

victimization).

Inmates who are incontinent, or use diapers or colostomy supplies, and inmates with mental
health conditions that lead to bizarre or disruptive behavior,.such as Tourette syndrome or
psychotic episodes, may have an increase in their vulnerability to attack, threats, or extortion by

acell partner,

If there is a question whether a medical, mental health condition is present and consultation
with medical or mental health staff is required, custodial staff shall submit a request for review
and recommendations related to single-cell consideration. The screening authority should
consider the recommendations of medical and mental health staff regarding the most .
appropriate housing for the inmate given the vulnerability that maybe created by their medical
or mental health condition(s).

Once a screening authority has determined an inmate should be placed on single-cell status, all
procedures should be followed in accordance with the DOM sections 54046.5, 54046.6, and
54046.9. Staff will continue to ensure current housing policies regarding special category
‘nmates such as Coleman, Plata, Madrid, Armstrong, and Clark, remain in place during the
housing process.

The safety and security of all involved is the goal. Ifat any time an inmate comes to staff and
expresses he or she has a vulnerability issue, staff should, as soon as possible, take all
appropriate measures to ensure the inmate is safely housed in accordance with policy and
procedures. If review of the issue confirms a real and present threat to the safety of an inmate
exists, appropriate measures should be taken immediately to safely and appropriately rehouse
the inmate. If an inmate claiming to be vulnerable is not granted single-cell status, but is
provided alternative housing, the reasons for that placement determination must be
documented.

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Wardens
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An inmate who believes he or she has a vulnerability issue may notify staff by submitting a
CDCR Form 22, Request for Interview, Item, or Service; or by appealing their current housing
assignment via a CDCR Form 602, Inmate/Parolee Appeal. An inmate may also submit a
CDCR Form 1824, Reasonable Accommodation Request, to alert staff concerning a disability-
based housing issue. However, these forms are not intended to preclude verbal communication
or requests. All forms of communication shall be reviewed for emergent issues.

Wardens shall ensure 60 days from the date of this memorandum that all correctional staff are
trained regarding this policy. The Warden shall also ensure a certification letter is sent to their
Associate Director indicating the training was completed.

If you have any questions, please contact Jean Weiss, Special Assistant (A) to the Director,
Division of Adult Institutions, at (916) 323-1029.

x6 -

SCOTT KERNAN
Secretary

ce: Kelly Harrington
Ralph M. Diaz
Kathleen Allison
Jean Weiss

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